
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Jeffrey Adam Wertkin, to disbar the Respondent from the practice of law. The Court having considered the Petition, it is this 16th day of January, 2018, by the Court of Appeals of Maryland;
ORDERED, that Respondent, Jeffrey Adam Wertkin, be, and he hereby is, disbarred from the practice of law in the State of Maryland for violation of Rule 8.4(b), (c) and (d) of the Maryland Lawyers' Rules of Professional Conduct and Rules 19-308.4(b), (c) and (d) of the Maryland Attorneys' Rules of Professional Conduct; and it is further
ORDERED, that the Clerk of this Court shall remove the name of Jeffrey Adam Wertkin from the register of attorneys in this Court and certify that fact to the Trustees of the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 19-736(d).
